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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA




In re: Oil Spill by the Oil Rig “Deepwater       MDL No. 2179
Horizon” in the Gulf of Mexico, on April 20,
2010                                             SUPPLEMENTAL DECLARATION OF
                                                 SHANNON R. WHEATMAN, PH.D. ON
                                                 REVISED NOTICE PLAN




       I, Shannon R. Wheatman, being duly sworn, hereby declare as follows:

       1.     I am President of Kinsella Media, LLC (“KM”), an advertising and notification
consulting firm in Washington, D.C. specializing in the design and implementation of class
action and bankruptcy notification programs. My business address is 2001 Pennsylvania Avenue
NW, Suite 300, Washington, D.C. 20006. My telephone number is (202) 686-4111.

       2.     KM is working with the Parties in the above referenced matter, In re: Oil Spill by
the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010, for the Halliburton
and Transocean Punitive Damages & Assigned Claims Settlements, to implement the paid media
portion of the overall Notice Program (the “Notice Plan”).

       3.     The Notice Plan preliminarily approved by the Court included publication in 22
newspapers. There are modifications involving two newspapers as follows:

              a.      Louisiana: Houma Today is online only now. KM recommends replacing
              it with Houma Courier and The Daily Comet with a combined estimated
              circulation of 18,646. This approach will reach roughly the same audience as
              Houma Today.
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               b.      Mississippi:   Keesler News is no longer publishing. KM recommends
               replacing it with Biloxi D’Iberville Press with an estimated circulation of
               18,3,550. This approach will reach roughly the same audience as Keesler News.

       4.      It is my opinion that the two modifications to the newspapers noted above have no
impact on the efficacy of the Notice Plan, and the revised Notice Plan continues to provide the
best notice practicable.

I declare under penalty of perjury under the laws of the State of Louisiana that the foregoing is
true and correct. Executed in Washington, D.C. this 3rd day of June 2016.




_________________________________
Shannon R. Wheatman, Ph. D




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